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  6   Attorney for Plaintiff Elaine Gallagher

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  8
                               UNITED STATES DISTRICT COURT
  9
                                                FOR THE
 10
                            SOUTHERN DISTRICT OF CALIFORNIA
 11
 12
 13                                                 CASE NO. 16-cv-01437-BEN-DHB
       ELAINE GALLAGHER,
 14                                                 NOTICE OF VOLUNTARY DISMISSAL
         PLAINTIFF,
 15
         V.
 16
       TIMOTHY ROBERTS, an individual,
 17    PANAMA REAL ESTATE VENTURES,
       INC., a corporation, PANAMA REAL
 18    ESTATE VENTURES, LLC, a Delaware
       Limited Liability Company, PANAMA
 19    REAL ESTATE FUND NO. 2, LLC, a
       Delaware Limited Liability Company,
 20    MICHAEL GALLAGHER and Does 1-
       30, inclusive,
 21
        Defendants.
 22
 23           TO THE HONORABLE COURT, ALL PARTIES HEREIN AND THEIR

 24           RESPECTIVE COUNSEL OF RECORD:

 25           Plaintiff dismisses this lawsuit pursuant to Federal Rule of Civil Procedure

 26           41(a)(1)(A)(i). Such dismissal shall be without prejudice, with each side to bear its

 27           own costs and fees.

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                                      Dated: 5-10-2017         LAW OFFICES OF ALAN L. WILLIAMS
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                                  3                      By:   /s/ Alan L. Williams
                                                               Alan L. Williams, Attorney for Plaintiff Elaine Gallagher
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                                                               NOTICE OF VOLUNTARY DISMISSAL
